Case 2:2140NrAQPAATHS OfSIRICMICOURT FEN HAL DIS PAICTORGAUIRORMIAP age ID #:19

 

CIVIL COVER SHEET
1. (a) PLAINTIFFS { Check box if you are representing yourself [") ) DEFENDANTS = ( Check box if you are representing yourself ["} )
Morgan Creek Productions, inc. Goode Films, LLC, Netflix, Inc.

 

(b) County of Residence of First Listed Plaintiff ‘osAngeiesCounty _ |County of Residence of First Listed Defendant New York County

 

 

 

 

 

(EXCEPT It US, PLAINTIFF CASES) (iW U.S. PLAINTIFF CASES ONLY)
(c) Attorneys (Firm Name, Address and Telephone Number) If you are Attorneys (Firm Nome, Address and Telephone Number) If you are
representing yourself, provide the same information. |representing yourself, provide the same information.
David Berke (SBN #123007) (presently unknown)
7162 Beverly Boulevard, Suite 324
Los Angeles, CA 90036
IL. BASIS OF JURISDICTION (Place an X in one box onty,) i. CITIZENSHIP OF PRINCIPAL PARTIES -For Diversity Cases Only
(Place an Xin one book fos panier one for defendant} am
DEF
1.U.S. Government 3. Federal Question (U.S. izen of This State 1 1 corporated oF Principal Place 4 4
U Plaintiff es Government Not a Party) Bl} D1 * ceeusinessin this State Bs
Citizen of Another State [[} 2 [R] 2 Incorporated and Principal Place Osos
2. US, Government 4. Diversity (Indicate Citizenship |i Subject of —_
“4. n p zen or 4
O Defendant of Parties in Item Il) Foreign Country ats eee Cy'e (:¢
IV. ORIGIN (Place an X in one box only.)
1. Original 2.Removed tom =) 3.Remanded from /— 4.Reinsated or (> 5. Tanserted from Anothes oO eet, oe
Proceeding State Court Appellate Court Reopened District (Specify) Transfer Direct File

 

 

====s=amamama
V. REQUESTED IN COMPLAINT: JURY DEMAND: Yes [] No (Check"Yes" only if demanded in complaint.)

CLASS ACTION under F.R.Cv.P.23; ["]Yes [_]No MONEY DEMANDED IN COMPLAINT: $ *2tu'tory damages

VI. CAUSE OF ACTION (cite the US. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
Copyright Violations, 17 U.S.C. §& 101 et seq.

 

Vil. NATURE OF SUIT [Place an X in one box only).

 

 

 

     

 

     
  
  
 
   

[D375 False Claims Act 110 Insurance 240 Tarts to Land 0 ee Corpus: [] 820 Copyrights
5 278 QuiTam C] 120 Marine [1] 245 Tort Product pplica [1 462AllenDetwinee 1 aso patent
(31 USC 3729(a)} Liability 465 Other Oo 510 Motions to Vacate
[7 1s0mierAct |) 290M Other nea! |) immigration Actions | Sentence 835 Patent - Abbreviated
400 State ([) 530 General O
O Reapportionment 140 Negotiable New Drug Application
(0) 410 Antitrust Cl Siete [) 535 Death Penalty =|} 840 Trademark
Other:
150 Recovery of 370 Other Fraud . 880 Oefend Trade Secrets Act
(430 Banks and Banking |— Overpayment & |[[] 310 Airplane ~ [1 540 Mandamusiother [CJ of 2016 (DTSA)
Oo 450 CommerceviCC Enforcement of 315 Airplane (C) 371 Truth in Lending soca secuaty —]
o ie <- Judgment C3 product Liability 220 0ther Persons (D550 Civil Rights cu
: [() 151 Medicare Act 4 320 Assault, Libel & Property Damage |] 555 Prison Condition LJ 861 BIA (1395ff)
Oo 470 Racketeer influ- Stander 335 P ty Da oO 862 Black Lung {923}
(1) 480 Consumer Credit |L] erent a CO Liabitity ee C0 Conditions of [) 863 DIIC/DIWA (405 (9)
[185 Telephone ; C 340 Marine ae heoenl ae : 7] (C) 864 SSID Title Xv!
Ree ES Ne coca re 345 Marine Product |} ysc 158 625 Drug Related 865 RSI (405 (g})
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eee | tenstocinokders |C) 350 Me ie O uscis rece DERALTAXSUITS |
t 355 Matar Vehicle er 870 Tawes (U.S, Plaintiff or
[820 Other Statutory sats OC Product Liability — C1 Detendant)
Actions 190 Other 360 Other Personal |L) 440 Other Civil Rights 871 IRS-Third Party 26 USC
OD contract CO) 710 Fale Labor Standards| [_}
() 89% Agricultural Acts ey it L] 441 Voting oO aa 7609
195 Contract ronal ry
Oo aes weticantints C2 product Liabaity | Med Malpratice oO oa o yap lear Ware:
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Baa canaiton 367 Health Care/ 445 American with
[] 896 Arbitration T) 210 Land (Pharmaceutical [1] Disabilities: O73! Ramity and Medical
899 Admin. Procedures Condemnation Personal Injury Employment ae ae
Act/Review of Appeal of |() 220 Foreclosure Product Liability 9 446 American with | 790 Other
Agency ection 368 Asbestos Disabilities Other oat baetees fet. bx:
Constitutiona mployee Ret.
C) srate Statutes 0 [) 448 Education C1 security Act

 

 

 

FOR OFFICE USE ONLY: Case Number;
CV-71 (10/20) CIVIL COVER SHEET Page 1 of 3
Case 2:21 Gy 09545 ree City Re? cout CRA ad! Bi PACTCRGAArinMUAPage ID #:20
CIVIL COVER SHEET

Vill. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

QUESTION A: Was this case removed
from state court?
(1) Yes [%] No

If "no, * skip to Question B. IF “yes,” check the
box to the right that applies, enter the [3 Orange Southern
corresponding division in response to
Question £, below, and continue from there. ) Riverskde or San Bernardino Eastern

 

 
 
   

  
  
  
 
 
 
 
 
 
 
  
  
  
  
    

 

[[] Los Angeles, Ventura, Santa Barbara, or San Luts Obispo

 

 

 

 

a

YES, Your case will initially be assigned to the Southem Division.
[11 Enter “Souther” in response to Question E, below, and continue
from there,

the district reside in Orange Co?

check one ofthe boxestotheright =>

 

(1 NO. Continue to Question 8.2,

 

B.2. Do 50% or more of the defendants who reside in

a . ¥ will initially be assigned to the Eastem Division,
If ‘no, skip to Question, W"yes,"answer — [the district reside in Riverside and/or San Bernardino ee rn eecanadd tote

oO Enter “Eastern” in response to Question E, below, and comtinue

 

  

Counties? (Consider the two counties together.) from there.
check ane of the bames to the right NO, Your case will initially be assigned to the Western Division.
= [] Enter “Western” in response to Question E below, and continue
from there,
Os. 3 == SS +. or >!
1, Do $0% or more of the plaintiffs whe de inthe YES. Y Mt initia to the sion.
tact * co? ‘Our Case wi lly be assigned Southern Dives

[1] Enter “Southem” in response to Question E, below, and continue

from ‘
checkoneoftheboxestothe right => =

 

(C] NO. Continue to Question C2.

 

“2. Do S% ar more of the plaintiffs who reskie In the
If "no, * skip to Question D, If"yes" answer district reside in Riverskle and/or San Bemardino
Counties? (Consider the two counties together.)

      
 
     
   
     
    

 

YES. Your case will intially be assigned to the Eastem Dévision.
(0) Enter “Eastern” in response to Question E, below, and continue
from there.

 

checkoneofthe baxestotheright => NO. Your case will initially be assigned to the Western Division,

()_ Enter Western" in response to Question E. below, and continue
from there.

 

 
   
   

indicate the location(s) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if nome of these choices apply.)
indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices

0
O

    

 

apply.

 

 

 

 
     
   
 

 

   
      
    
 

D.1. Is there at least one answer in Column A? D.2. Is there at least one answer in Column B

  

[J Yes [Xx] No L] Yes No
If "yes." your case willl initially be assigned to the if "yes," your case will initially De assigned to the
SOUTHERN DIVISION. EASTERN DIVISION.

Enter “Southern” in response to Question E, below, and continue from there.
Ifno goto questionD2tetheright, =>

Enter “Eastern” in response to Question E, below.
If "no," your case will be assigned to the WESTERN DIVISION.
Enter "Wester" in response to Question E, below. J

Samos ai as 7 ee

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racn
; LL

 

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties? [] Yes [X] No
CV-71 (10/20) CIVIL COVER SHEET Page 2 of 3

 
Case 2:21 gyi AQ PAG rls Ore? chuthr Raa a! Bis PicTRRaA AROMA age ID #:21

CIVIL COVER SHEET

IX(a). IDENTICAL CASES: Has this action been previously filed In this court? NO [] yes

i yes, list case number(s}:

 

IX(b). RELATED CASES: Is this case related {as defined below] to any civil or criminal case(s} previously filed in this court?

NO (yes
if yes, list case number(s):

 

Civil cases are related when they (check all that apply):
[_] A. Arise from the same or a closely related transaction, happening, or event;
[[] B. Call for determination of the same or substantially related or similar questions of law and fact; or
[_] © For other reasons would entail substantial duplication of labor if heard by different judges.

Note: That cases may Involve the same patent, trademark, or copyright is not in itself, sufficient to deem cases related.

A civil forfeiture case and a criminal case are related when they (check all that apply):
[] A. Arise from the same ora dosely related transaction, happening, or event;
[_] & Call for determination of the same or substantially related or similar questions of law and fact; or

T C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
labor if heard by different judges.

Ly, Lal

X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT):

 
  
 
 

DATE: 12/24/21

 

7 CT7T
Notice to Counsel/Parties: The sub ofthis Civil Sheet is required by Local Rule 3-1. This Form Cv-71 and the information contained herein

neither replaces nor supplements the nd service dings or other papers as required by law, except as provided by local rules of court, For
more detailed instructions, see separate instruction sheet (CV-071A).

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of SuitCode Abbreviation Substantive Statement of Cause of Action

All claims for health insurance benefits (Medicare) under Tithe 18, Part A, of the Social Security Act, as amended, Also,

841 HAA include claims by hospitals, skilled nursing facilities, etc. for certification as providers of services under the program.
(42 U.S.C. 1935FFib))

862 BL AS claims for “Black Lung” benefits under Titie 4, Part 8, of the Federal Coal Mine Health and Safety Act of 1969, (30 U S.C.
923)

863 iwc All cisiens filed by Insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; Pius
all claims filed for child's insurance benefits based on disability. (42 USC, 405 (g))

863 pnw All claims fied for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amerded. (42 U.S.C, 405 (g))
AN claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as

664 5510 amended,

86S asl All claims for retirement (oki age) and survivors benefits under Title 2 of the Social Security Act, as amended.
(42 U.S.C, 495 [g))

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